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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION

      In Re: American Medical Systems, Inc., Pelvic Repair System
                     Products Liability Litigation
                           MDL No. 2325
                                                2:14-cv-00958
                              Civil Action No. ____________
______________________________________________________________________________

                                 SHORT FORM COMPLAINT

   Come now the Plaintiff(s) named below, and for Complaint against the Defendants named

below, incorporate The First Amended Master Complaint in MDL No. 2325 by reference.

Plaintiff(s) further show the court as follows:

  1. Female Plaintiff

       KATHRYN JOHNSON

  2. Plaintiff Spouse

       ___________________________

  3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator)

       ___________________________

  4. State of Residence

       MINNESOTA

  5. District Court and Division in which venue would be proper absent direct filing

        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MINNESOTA

      MINNEAPOLIS DIVISION



  6. Defendants (Check Defendants against whom Complaint is made):

       X       A. American Medical Systems, Inc. (“AMS”)

                                                                                      Revised: 11/6/13
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            B. Ethicon, Inc.

            C. Ethicon, LLC

            D. Johnson & Johnson

            E. Boston Scientific Corporation

            F. C. R. Bard, Inc. (“Bard”)

            G. Sofradim Production SAS (“Sofradim”)

            H. Tissue Science Laboratories Limited (“TSL”)

            I. Mentor Worldwide LLC

            J. Coloplast Corp.

            K. Cook Incorporated

            L. Cook Biotech, Inc.

            M. Cook Medical, Inc.

7. Basis of Jurisdiction

            Diversity of Citizenship

            Other:________________

    A. Paragraphs in Master Complaint upon which venue and jurisdiction lie:

    ___________________________

    ___________________________

    ___________________________

    B. Other allegations of jurisdiction and venue

    DEFENDANT AMS MAINTIAINS ITS WORLDWIDE HEADQUARTERS AT 10700

    BREN ROAD WEST, MINNETONKA, MINNESOTA 5534, THEREFORE, VENUE IS

    PROPER IN THE USDC FOR THE DISTRICT OF MINNESOTA, MINNEAPOLIS

    DIVISION, PURSUNT TO 28 U.S.C. §1391(b)(1).

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8. Defendants’ products implanted in Plaintiff (Check products implanted in Plaintiff)

           A. Apogee;

           B. Perigee;

           C. MiniArc Sling;

           D. Monarc Subfascial Hammock;

    X      E. SPARC;

           F. In-Fast;

           G. BioArc;

           H. Elevate;

           I. Straight-In;

           J. Other

           __________________________________________

           __________________________________________

9. Defendants’ Products about which Plaintiff is making a claim. (Check applicable
   products)

           A. Apogee;

           B. Perigee;

           C. MiniArc Sling;

           D. Monarc Subfascial Hammock;

    X      E. SPARC;

           F. In-Fast;

           G. BioArc;

           H. Elevate;

           I. Straight-In;




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            J. Other;

           _________________________

           _________________________

10. Date of Implantation as to Each Product

    APRIL 30, 2003

    ________________________________

11. Hospital(s) where Plaintiff was implanted (including City and State)

   UNITY HOSPITAL

   ________________________________

12. Implanting Surgeon(s)

    DR. JYOTHI KESHA

    ________________________________

13. Counts in the Master Complaint brought by Plaintiff(s)

    X       Count I - Negligence

    X       Count II – Strict Liability – Design Defect

    X       Count III – Strict Liability – Manufacturing Defect

    X       Count IV – Strict Liability – Failure to Warn

    X       Count V - Strict Liability – Defective Product

    X       Count VI - Breach of Express Warranty

    X       Count VII – Breach of Implied Warranty

    X       Count VIII – Fraudulent Concealment

    X       Count IX – Constructive Fraud

    X       Count X - Discovery Rule, Tolling and Fraudulent Concealment

    X       Count XI – Negligent Misrepresentation

    X       Count XII – Negligent Infliction of Emotional Distress


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     X     Count XIII – Violation of Consumer Protection Laws

     X     Count XIV – Gross Negligence

     X     Count XV - Unjust Enrichment

           Count XVI - (By the Spouse) – Loss of Consortium

     X     Count XVII – Punitive Damages

           Other __________________ (please state the facts supporting this Count in the

           space, immediately below)

           Other __________________(please state the facts supporting this Count in the

           space, immediately below)

     __________________________________________________________________________
     __________________________________________________________________________
     __________________________________________________________________________
     __________________________________________________________________________
     __________________________________________________________________________
     __________________________________________________________________________
     __________________________________________________________________________


                                               RESPECTFULLY SUBMITTED,

DATED: JANUARY 9, 2014
                                               By: /s/ Buffy K. Martines
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